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												Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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Current Month august, 2017
			
				
				
				
				
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			Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				14aug10:00 am4:00 pmOral Arguments
							Event DetailsMonday, August 14, 2017
10:00 AM
S17G0036 Brindle et al. v. Rogers
S17Q1508 Blach v. Diaz-Verson
S17G0429 Edokpolor et al. v. Grady Memorial Hospital Corporation

2:00 PM

S17A0948 Lebis v. The State
S17A1479 Johnson v. The
							
							
									Event Details
									Monday, August 14, 2017
10:00 AM
S17G0036 Brindle et al. v. Rogers
S17Q1508 Blach v. Diaz-Verson
S17G0429 Edokpolor et al. v. Grady Memorial Hospital Corporation
2:00 PM
S17A0948 Lebis v. The State
S17A1479 Johnson v. The State
S17A1519 Manner v. The State

								
							
						
						
							
							
								
									
																
										Time(Monday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
												
							
							
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				6/28/17 – Comments Sought on Interim Rules for New Judicial Qualifications Commission
						
				
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